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      Girls of Summer: Meet 9 Ballerinas Whose Off-Stage Style Is
      Right On Pointe


      Nothing beats a brand-new fashion discovery, especially when fresh style stars get on your radar.
      All summer we've been bringing you chic ladies worth getting to know because, honestly, you
      can never have too much outfit inspiration. We've already talked royals, future Victoria's Secret
      bombshells, Hollywood's newest crop of PYTs, and British street-style stars. Now, meet the
      ballerinas who are chic off the stage too. In case you haven't noticed, ballet is having a moment.
      There are ad campaigns (AG Jeans and Under Armour come to mind), and it feels like every chic
      celeb and model has been spotted slipping out of a dance-based fitness class. As a former serious
      ballet student, I'm loving it—my grown-up professional life is intersecting with the job I'd
      dreamed about as a little girl (ballerina, duh). Try as we might to appropriate some of their grace,
      there's a whole cast of actual ballet stars out there who have sick style to boot. 1. Misty Copeland
      She made history as the first female African American soloist with the American Ballet Theatre,
      just wrote an autobiography, and is no stranger to glossy photo shoots (with pointe shoes
      swapped in for heels, obviously). You're looking at a

      BY LEAH MELBY CLINTON

      August 13, 2014


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      1. Misty Copeland__




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        She made history as the first female African American soloist with the American Ballet Theatre,
      just wrote an autobiography, and is no stranger to glossy photo shoots (with pointe shoes swapped
            in for heels, obviously). You're looking at a power ballerina, guys. 2. Isabella Boylston

      Fashion and ballet have always gone hand in hand, and this American Ballet Theatre
      principal dancer knows it firsthand: Cushnie et Ochs made her custom wedding dress.
      3. Dusty Button



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        Being a ballerina doesn't mean all crystal-encrusted costumes and tutus. This Boston Ballet star
        has a funky style that includes doughnut leggings for dance class. She's a designer too, with her
                             own line of dance clothes. 4. Kelsey Ivana Hellebuyck

      With the busy schedules professional dancers have, it's impressive if one can document
      their fashion choices, much less organize them into trippy themed collages. Dear
      Pennsylvania Ballet, you have one very stylish dancer.

      5. Keenan Kampa
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      A G-Star Raw campaign, magazine pages, and killer model-off-duty style might convince you that
      this Mariinsky Ballet dancer is actually a catwalker. But then you see her in pointe shoes and it's all
                                       ballerina. 6. Lauren Cuthbertson

      Shoe selfies are pretty standard these days, but shots of cardboard boxes filled to the
      brim with new pointe shoes or ballet slippers with holes worn in them? Not so much.
      This Royal Ballet principal likes sharing her abused dancing slippers but also rehearsal
      selfies where thin sweaters and silky skirts will inspire you to rock a ballet look, stat.
      7. Diana Vishneva
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         She's sat courtside next to Beyonce, owns a sweet set of monogrammed Louis Vuitton luggage,
                  and has graced the pages of Vogue Italia. Need I say more? 8. Devon Teuscher

      Expect to see gorgeous dresses picked for galas and opening-night benefits, plus plenty
      shots of this American Ballet Theatre dancer's adorable pups peppered in.

      9. Lauren Lovette



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      Proving that the ballet world also knows that classic jean jackets make the perfect topper
      for most outfits? This New York City Ballet soloist.

      __Any former (or current) dancers out there? Kind of enamored with all things
      ballerina?

      TOPICS        BALLERINAS               BALLET




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